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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

      TAVARES DOCHER, by and through                                       CASE NO.: 2:16cv14413
      JANICE DOCHER-NEELEY, his mother
      and legal guardian,

                      Plaintiff,
      vs.

      CHRISTOPHER NEWMAN, individually,
      et al.

                  Defendants.
      ________________________________________/

            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS MANGRUM AND
                 ROBINSON’S MOTION FOR SUMMARY JUDGMENT [DE 87]

               The Defendants, MANGRUM and ROBINSON, in their individual capacities, file this

      their Reply Memorandum in support of their Motion for Summary Judgment, as follows:

            Plaintiffs Cannot Defeat Summary Judgment Through Speculation, Conjecture or
                                   Evidence which is Merely Colorable

               Plaintiff, as the nonmoving party, “must do more than simply show that there is some

      metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Corp. v. Zenith Radio

      Corp., 475 U.S. 574, 586, 106 S.Ct. 1348 (1986). The non-moving party cannot create a genuine

      issue of material fact through speculation, conjecture, or evidence that is “merely colorable” or

      “not significantly probative.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50, 106 S.Ct.

      2505, 2511, (1986); see also Bryant v. U.S. Steel Corp., 428 F. App'x 895, 897 (11th Cir. 2011).

      The 11th Circuit Court of Appeals has held that “[a]ll reasonable inferences arising from the

      undisputed facts should be made in favor of the nonmovant, but an inference based on

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      speculation and conjecture is not reasonable.” Blackston v. Shook & Fletcher Insulation Co., 764

      F.2d 1480, 1482 (11th Cir.1985) (citation omitted).

             In reviewing the record evidence in this case, despite the Plaintiffs’ attempts, there is no

      genuine dispute in the material facts as to the claims pending before this Court against the

      Defendants Mangrum and Robinson therefore they are entitled to summary judgment.

                     Deputy Mangrum and Robinson’s actions should be judged
                       separately when analyzing whether they acted lawfully

             Because multiple deputies are alleged to have violated the Plaintiff’s rights in multiple

      ways, it is appropriate for this Court to analyze each deputy’s actions individually. “Each

      defendant’s liability must be assessed individually based on his own actions. Binay v. Bettendorf,

      601 F.3d 640, 650 (6th Cir. 2010). “A reviewing court analyzes the subject event in segments

      when assessing the reasonableness of a police officer’s actions.” Morrison v. Bd. of Trustees of

      Green Twp., 583 F.3d 394, 401 (6th Cir. 2009).

                           Defendant Robinson’s use of force in response to
                        Plaintiff’s fleeing and active resistance was reasonable

             It is now undisputed that the only force used by Defendant Robinson was his attempt to

      push the Plaintiff back into the patrol car when he fled the patrol car while handcuffed, his two

      strikes to the Plaintiff’s legs as Docher pushed himself past the deputies and elbowed Deputy

      Newman in the face, and one closed fist strike to Plaintiff’s side during the struggle after Docher

      was taken to the ground.

             Plaintiff contends that because his detention was unlawful, any force used by Defendant

      Robinson was excessive. Plaintiff does not seem to be suggesting that the force used by Deputy

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      Robinson was more than reasonably necessary to effect the arrest. Nor could he credibly do so.

      In situations where an otherwise reasonable amount of force was utilized in an unlawful arrest,

      the damages recoverable are subsumed in a false arrest claim. There is no basis for an

      independent and separate excessive force claim, rather the use of force by Defendant Robinson

      would be considered an element of damage to a false arrest count which the Plaintiff did not

      bring against Defendant Robinson. See Williamson v. Mills, 65 F.3d 155, 158-59 (11th Cir.

      1995); Bashir v. Rockdale County, 445 F.3d 1323, 1331-32 (11th Cir. 2006). Ultimately, this

      scenario presents a purely academic exercise since Plaintiff’s detention was lawful as argued in

      Defendant Newman’s Motion for Summary Judgment (DE 85) and Reply Memorandum in

      support of same.

           Deputy Mangrum’s elbow strike was a reasonable response to Plaintiff’s active
                    resistance including his attempt to bite Deputy Mangrum

             It is now undisputed that after being taken to the ground, the Plaintiff attempted to bite

      Defendant Mangrum’s finger. (DE 131, ¶ 67). Plaintiff has also tried to create a material dispute

      regarding whether the Plaintiff actually bit Defendant Newman’s finger based on the testimony

      of Merine Kanhai who testified that she did not see the Plaintiff bite Deputy Newman (from a

      distance of 20-25 feet away). (DE 135-2, 11: 15-21). The fact that Kanhai did not see the

      Plaintiff bite Deputy Newman is insufficient to create a material dispute regarding that fact. See

      Kesinger ex rel. Est. of Kesinger v. Herrington, 381 F.3d 1243, 1249-50 (11th Cir. 2004)

      (finding summary judgment was appropriate despite conflicting testimony of a fatal shooting

      because an eyewitness’s version did not differ from the officer’s in any material way). In a


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      further attempt to create a material dispute regarding the fact that the Plaintiff bit Deputy

      Newman on the finger, Plaintiff cites to the fact that Defendant Newman did not seek medical

      treatment. This assertion is immaterial to the question of whether Defendant Mangrum used

      reasonable force unless the Plaintiff is advocating for a rule that unless a law enforcement officer

      suffers an observable injury in a struggle with a Plaintiff, any force used is unlawful. Such is not

      the law.

              Since it is undisputed that the Plaintiff attempted to bite Defendant Mangrum and there

      is no material dispute regarding the fact that the Plaintiff actually bit Deputy Newman, Defendant

      Mangrum’s elbow strike to combat Plaintiff’s actions was reasonable. See Benton v. Hopkins,

      190 Fed. Appx. 856, 860 (11th Cir. 2006) (concluding that multiple baton strikes to the legs and

      neck of an unarmed resisting arrestee were not unreasonable).

              Plaintiff advances two main theories in an attempt to defeat Defendant Mangrum’s

      motion on the excessive force counts based on the elbow strike. Plaintiff’s first theory is that

      since the Plaintiff’s detention was unlawful, any force used by the deputies against the Plaintiff

      was excessive thus the Plaintiff’s actions in biting and kicking the deputies in self-defense was

      permitted. Plaintiff cites to Dyer v. Lee, 488 F.3d 876, 870, 884 (11th Cir. 2007) with the

      parenthetical reference “explaining that persons are entitled to act in self-defense since any other

      result would allow the use of excessive force by a police officer free of fear of consequence

      under § 1983.” (DE 129, p. 17). The issue in Dyer was whether the Supreme Court’s ruling in

      Heck v. Humphrey, 512 U.S. 477 (1994) barred a Plaintiff convicted of resisting arrest with

      violence from bringing a § 1983 lawsuit alleging excessive force from the same incident where

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      the Plaintiff was arrested. The 11th Circuit’s ruling in Dyer did not recognize a right to self

      defense in response to the use of excessive force, as the Plaintiff implies. Rather the Court held

      that not all successful §1983 claims against an officer for using excessive force will necessarily

      negate the underlying charge of resisting arrest with violence. Id. at 879 (holding for Heck to

      apply, it must be the case that a successful § 1983 suit and the underlying conviction be logically

      contradictory.) There is no claim here that Plaintiff’s excessive force claims are barred by Heck.

      Further, as argued in Defendant Newman’s Motion for Summary Judgment and Reply, Plaintiff’s

      detention was supported by reasonable suspicion which later developed into probable cause.

             Plaintiff cites to Pourmoghani-Esfahani v. Gee, 625 F.3d 1313 (11th Cir. 2010) in support

      of his contention that the force used by Defendant Mangrum was excessive. Plaintiff claims the

      facts in Gee are remarkably similar to this case with no meaningful differences. Defendant

      Mangrum disagrees. One meaningful difference is that the actions of the Defendant in Gee were

      very much disputed: the Plaintiff alleged that the Defendant slammed her head on the floor 7-8

      times after the Plaintiff was restrained which the Defendant denied. Gee at 1316. There is no

      material dispute here regarding the fact that Defendant Mangrum elbowed the Plaintiff one time

      in response to the Plaintiff attempting to bite him. Plaintiff also notes that the video in Gee did

      not establish whether a pool of blood was present whereas in this case there is no dispute that the

      Plaintiff was bleeding from his face with the obvious implication that the justification for the

      denial of qualified immunity is stronger here. However, Plaintiff’s injuries, no matter how minor

      or severe, do not convert an otherwise reasonable use of force into excessive force. See

      Rodriguez v. Farrell, 280 F.3d 1341, 1351 (11th Cir. 2002); Silverman v. Ballantine, 694 F.2d


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       1091, 1096-97 (2nd Cir. 1982) (force used was not, as a matter of law, excessive even though

       arrestee died of heart attack during arrest). Finally, Plaintiff points to the testimony of the

       independent witnesses. To the extent the independent witnesses state that it did not look to them

       like the Plaintiff was resisting, Defendant Mangrum respectfully submits that the cell phone

       recording speaks for itself on that front. Gee, 625 F.3d at 1315. Further, the fact that a civilian

       witness did not perceive the Plaintiff as resisting does not overcome the fact that it is now

       undisputed that the Plaintiff fled the back of the patrol car while handcuffed and elbowed

       Defendant Newman in the eye, was able to slip his handcuffs underneath him during the struggle

       to control him, and attempted to bite the deputies.1

               Plaintiff’s second theory seems to be that even if some force was justified based on

       Plaintiff’s resistance, the elbow strike utilized by Defendant Mangrum was an excessive use of

       deadly force. Plaintiff cites to and relies on the testimony of his retained expert, Mel Tucker, to

       support this contention. Plaintiff’s expert’s opinion aside, in order to divest Deputy Mangrum

       of the protections of qualified immunity, the legal issue is whether the case law was sufficiently

       clear that at the time Deputy Mangrum delivered the elbow strike that the elbow strike amounted

       to deadly force. That is not the state of the law now and it certainly was not the state of the law

       on May 11, 2014. In Baltimore v. City of Albany, Ga., 183 Fed.Appx.891, 898 (11th Cir. 2006),

       the 11th Circuit held that “striking a suspect in the head with a heavy flashlight or other blunt


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            There is no record evidence that any of the civilian onlookers witnessed the Plaintiff
   alighting from the patrol car or going to the ground. Further, as evidenced by the testimony of Merine
   Kanhai, it is not surprising that civilians do not to fully understand what is meant by “resisting.” (See
   DE 135-2, 24:9-20).


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      instrument at least poses a substantial risk of serious bodily injury, if not death” therefore

      constituting deadly force. Thus at the time of the incident, it was clearly established that striking

      a subject in the head with a blunt instrument constituted deadly force for purposes of qualified

      immunity. It is undisputed that only empty hand techniques were utilized by the deputies in

      dealing with Docher, i.e. they did not utilize a baton, taser or any other blunt instrument while

      attempting to gain compliance from the Plaintiff. Despite Plaintiff’s suggestion that an elbow

      strike to the head constitutes deadly force, it certainly cannot be said that the law was clearly

      established to that effect on May 11, 2014. See Hoolihan v. Clayton County, Georgia, 2012 WL

      12888679, at *6 (N.D. Ga. 2012), aff’d sub nom., Hoolihan v. Clayton County, Ga., 507

      Fed.Appx. 831(11th Cir. 2013)(“Thus even if an elbow strike to the head is considered deadly

      force [the law enforcement defendant] had no notice, by way of clearly established law, that the

      use of such force was unlawful under the circumstances”).

              Plaintiff’s expert also suggests that Defendant Newman and the other deputies failed to

      treat this as a medical emergency rather than an arrest and control situation. The natural corollary

      of Plaintiff’s expert’s theory is that since the deputies should have treated their interaction with

      the Plaintiff as a medical emergency rather than an arrest and control situation, any force used

      by the deputies was unreasonable. As discussed above, prior to any force being used against the

      Plaintiff, the Plaintiff had committed multiple crimes of varying degrees of seriousness. Contrary

      to the Plaintiff’s expert’s opinion, this court should “credit the government with a significant

      interest in enforcing the law on its own terms, rather than on terms set by the arrestee.” Buckley

      v. Haddock, 292 Fed. Appx. 791, 794 (11th Cir. 2008).


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              Finally, Plaintiff’s expert contends that the Defendant Mangrum violated commonly

      accepted training practices which teach that elbow strikes are considered deadly force. The

      Supreme Court recently addressed this issue in City and County of San Francisco v. Sheehan,

      135 S.Ct. 1765 (2015), where the Plaintiff in that case supported her 4th Amendment claim with

      expert testimony that the defendant law enforcement officers “fell short of their training by not

      using practices designed to minimize the risk of violence when dealing with the mentally ill.”

      Id. at 1777. After scrutinizing the case law, the Supreme Court held that “the officers’ failure to

      accommodate [the plaintiff’s] illness [did not] violat[e] clearly established law.” Id. at 1775. The

      Supreme Court further held that neither allegations that an officer deviated from accepted

      training standards nor suggestions from a Plaintiff’s expert that an action should have been

      handled differently are substitutes for appropriate judicial precedent in the “clearly established”

      analysis. Id. at 1777.

              The most telling portion of Plaintiff’s expert’s theory is where he declares that if deadly

      force was justified, “they should’ve just jumped back and drew their weapons and shot and killed

      him.” This type of mechanical application to the analysis in use of force cases has been soundly

      rejected. See Bell v. Wolfish, 441 U.S. 520, 559 (1979) (“The test for reasonableness under the

      4th Amendment is not capable of precise definition or mechanical application.”). Rather, “[t]he

      sole inquiry is whether the officer's actions, as taken, were objectively reasonable under all the

      circumstances. See Garczynski v. Bradshaw, 573 F.3d 1158, 1167 (11th Cir. 2009). Defendant

      Mangrum’s elbow strike in a tense and rapidly evolving situation was reasonable.

           Defendant Mangrum is entitled to qualified immunity on Plaintiff’s “positional
                             asphyxiation” excessive force claim

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             It is now undisputed that after the Plaintiff was taken to the ground and during his active

      resistance, Docher was able to slip one of his handcuffs up to his elbow which permitted him to

      slip one of his arms underneath him despite being cuffed with his arms behind his back. (DE 88,

      ¶23 & DE 131 as to that ¶). In response to Defendant Mangrum’s assertion that he is entitled to

      qualified immunity since a reasonable officer could have determined that the technique Deputy

      Mangrum used was needed to prevent the Plaintiff from again slipping his cuffs, Plaintiff

      suggests that the 11th Circuit in Post deemed the choke hold to be de minimus force. This is a

      curious argument for the Plaintiff to make considering by Plaintiff’s theory, the choke hold was

      an excessive use of deadly force. Certainly a choke hold is likely to cause serious bodily injury

      or death. Plaintiff cites to Bozeman v. Orum, 422 F.3d 1265, 1272 (11th Cir. 2005) for the

      proposition that “Mangrum had fair warning that asphyxiating a person in police custody into

      unconsciousness after they have surrendered constitutes excessive force.” When Deputy

      Mangrum lifted Docher’s arms to prevent him from slipping his cuffs he clearly hadn’t

      surrendered, as evidenced in the cell phone video. Further, Bozeman involved a group of

      detention officers who allegedly pushed a pretrial detainee’s head into a mattress until he stopped

      breathing to intentionally cause the Plaintiff harm. Id at 1272-73. That is not what happened here.

             The case of Fernandez v. City of Cooper City, 207 F.Supp 2d 1371 (S.D. Fla. 2002) is

      highly instructive to the issue of whether Deputy Mangrum’s actions of lifting Docher’s arms

      to prevent him from slipping his cuffs constituted excessive force. In Fernandez, three officers

      confronted a schizophrenic Vietnam veteran in a Winn Dixie parking lot after 911 received a call



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      concerning a man who seemed to be drunk and loitering. Id. at 1373-74. According to one of the

      witnesses, one of the defendant officers walked up to the man while he was sitting on a curb and

      attempted to place him in handcuffs. Id. at 1374. In response, the man began actively resisting

      the officers’ efforts by swinging his arms and running through the parking lot. Id. at 1375.

      Eventually, the officers were able to restrain him by placing him in two sets of handcuffs and a

      restrainer on his legs while one officer kept his knee on his back. Shortly after placing the cuffs

      on the man’s hands and legs, he stopped moving and later died at the scene. Id.

             Like Docher, the Plaintiff filed suit against the officers with the primary argument being

      that “the positional asphyxiation” of [the Plaintiff] evidences the fact that the officers used

      unconstitutionally excessive force in restraining [the Plaintiff].” Id. at 1379. In ruling that the

      officers’ use of force was lawful, the Court noted

             “[t]he prone restraint, pressure on the upper torso (presumably from one of
             the officer’s knees being pressed to [the Plaintiff’s] back, handcuffing, and
             struggle were all the result of Fidel’s illegal, physical and prolonged
             resistance. It was of course an unfortunate occurrence, but sympathy for a
             plaintiff does not transform law enforcement officials’ objectively reasonable
             responses to a volatile situation into a constitutional violation.

      Id. at 1379.

             Deputy Mangrum’s actions in lifting the Plaintiff’s arms did not violate clearly

      established law and to the extent Plaintiff’s claim is based on that action, Deputy Mangrum is

      entitled to, at a minimum, qualified immunity.

             For the reasons stated here and in Defendants’ Motion for Summary Judgment (DE 87),

      Defendants Mangrum and Robinson respectfully request summary judgment as to Counts III, IV,

      V, VII, VIII, XVII and XVIII.

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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
      Court using the CM/ECF and furnished via email a copy to: ADAM S. HECHT, ESQUIRE,
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